       Case: 3:22-cv-50257 Document #: 30 Filed: 08/30/23 Page 1 of 1 PageID #:237




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION

 FRANKENMUTH INSURANCE                            )
 COMPANY f/k/a FRANKENMUTH                        )
 MUTUAL INSURANCE COMPANY,                        )      Case No. 2022-cv-50257
                                                  )
          Plaintiff,                              )      Honorable Margaret J. Schneider
                                                  )
          v.                                      )
                                                  )
 SPRING CREEK MEADOWS OFFICE                      )
 CENTRE, INC.,                                    )
                                                  )
          Defendant.                              )

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Frankenmuth Insurance Company

f/k/a Frankenmuth Mutual Insurance Company, and Defendant, Spring Creek Meadows Office

Centre, Inc., by it undersigned attorneys, hereby stipulate to the dismissal of this action with

prejudice, with each party to bear its own costs and expenses.


Dated: August 30, 2023


 By:      /s/ Steven R. Apel                      By:    /s/ Adam Long
          Steven R. Apel                                 Adam Long

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 Frankenmuth Insurance Company
 f/k/a Frankenmuth Mutual Insurance
 Company
